       2:19-cv-02054-CSB-EIL # 12       Page 1 of 15                                       E-FILED
                                                                 Monday, 01 April, 2019 10:14:13 AM
                                                                      Clerk, U.S. District Court, ILCD

                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION

JOHN DOE,                                   )
                                            )
                      Plaintiff,            )
                                            )
             v.                             )          Case No. 19-CV-2054
                                            )
BOARD OF TRUSTEES OF THE                    )
UNIVERSITY OF ILLINOIS,                     )
                                            )
                      Defendant.            )


                                        ORDER


      This case is before the court for a ruling on Plaintiff=s Motion for Preliminary

Injunction and/or Temporary Restraining Order (#4). Plaintiff’s Complaint (#1), which

he incorporates into his Motion (#4), includes a number of attachments which the court

has considered. Defendant filed a Memorandum in Opposition (#11) which also

includes a number of attachments, which the court has considered. The parties

appeared by telephone at a hearing held Thursday, March 28, 2019, at 10:30 a.m., and

each party provided argument and responded to questions posed by the court. The

matter being fully briefed, and each party being heard, the court took the matter under

advisement, and now rules as follows.
       2:19-cv-02054-CSB-EIL # 12        Page 2 of 15



       A.   Findings of Fact

       The court has reviewed the documentary evidence provided by the parties.

Neither party submitted, or requested to submit, additional evidence beyond the

documents attached to their filings. The court finds these facts for purposes of this order

only, based on the evidence before it at this early point in the case. These findings are

without prejudice to any future finding as the factual record is more fully developed.

       The incident that ultimately gave rise to discipline proceedings against Plaintiff

took place on October 6, 2017. The Alleged Victim and Plaintiff consumed alcohol

(specifically vodka and orange juice) together. Plaintiff acknowledged to University of

Illinois at Urbana Champaign (“University”) investigators that the Alleged Victim

became drunk and confirmed that at one point she began to cry and get emotional.

Besides the obvious fact that voluntary intoxication is not a defense to sexual assault,

there is no indication that Plaintiff at any point was intoxicated to a point anywhere

nearing incapacity himself. Plaintiff and Defendant engaged in two instances of sexual

intercourse that the first hearing panel deemed nonconsensual, but the second hearing

panel did not deem nonconsensual. The facts alleged regarding a third instance of

sexual intercourse, that was ultimately deemed to violate the University’s Student Code

(“Code”), show that the Alleged Victim consumed an additional quantity of alcohol,

vomited, fell asleep, regained consciousness, and thereafter Plaintiff, knowing these

facts, engaged in sexual intercourse with her.



                                             2
       2:19-cv-02054-CSB-EIL # 12          Page 3 of 15



       The University maintains and enforces rules relating to its students, their

academic requirements, and disciplinary matters through the Code, Student

Disciplinary Procedures, and the regulations of the Board of Trustees for the guidance

of the staff of the University (“Statutes”).

       The court assumes for purposes of this order, based on the information before it

at this early stage, that Plaintiff and Defendant had a contractual relationship. The terms

of that contract included the University Code and Statutes. The court also assumes,

again only for the purposes of this order, that the terms of that contract provided that

Plaintiff would be afforded due process in any disciplinary proceedings held against

him.

       The University utilized, at times relevant, what is commonly referred to as the

“Investigative Model” for adjudicating disciplinary claims of sexual misconduct. Two

investigators are assigned to interview the Alleged Victim and the Respondent alleged

to have violated the Code (here, Plaintiff), obtain witness statements, and collect

documentary evidence. The investigators prepare a written report, which is relied upon

by a Hearing Panel to determine whether the Respondent has violated University

policies and, if so, what sanction is appropriate. At the relevant time, the University did

not hold a hearing where the accused was allowed to appear and be heard by the

Hearing Panel.

       The University Statutes establish that a degree cannot be conferred upon a

student until all the student’s grades have been certified. The Statutes also establish that
                                               3
       2:19-cv-02054-CSB-EIL # 12         Page 4 of 15



if a disciplinary case is opened against a student before all grades are certified a

disciplinary hold is placed against the student’s account until the disciplinary

proceedings are resolved, and possibly longer depending on whether a sanction is

imposed. Such a hold prevents a degree from being conferred.

       Plaintiff was a second-year graduate MBA student at the University during the

2017-2018 school year. On June 4, 2018, after Plaintiff had completed his classwork for

his degree but before all of his grades were known and before the University had

certified that he had fulfilled the requirements of his degree, Plaintiff was accused of

sexual assault. Pursuant to its policies, the University placed a hold on Plaintiff’s record,

which resulted in the withholding of his degree pending the resolution of the

complaint. Plaintiff was notified of the hold on June 4, 2018.

       On September 27, 2018, pursuant to the University’s procedure in effect at the

time for resolving sexual misconduct complaints (which has now changed), an

adjudicating panel found Plaintiff responsible for sexual assault and dismissed him

from the University. Plaintiff appealed, his appeal was granted, and the matter was

remanded for consideration by a new adjudicating panel. On November 13, 2018, a

second panel, composed of different members, made a more specific finding that the

Alleged Victim, Jane Roe (“Roe”), was incapacitated and unable to consent to the third

act of sexual intercourse between Plaintiff and Roe that occurred that night (as

evidenced by the fact that Roe had vomited as a result of alcohol consumption in

Plaintiff’s presence before the third sexual encounter), and Plaintiff had accordingly
                                             4
       2:19-cv-02054-CSB-EIL # 12         Page 5 of 15



violated the University’s sexual misconduct policy. Based on this finding, the second

panel imposed a sanction of dismissal, which as applied to Plaintiff meant the

withholding of his degree during the period of dismissal. Plaintiff appealed the

determinations of the second panel, and on December 10, 2018, the University affirmed

its findings and sanctions.

       Plaintiff was denied an opportunity to appear before the Hearing Panel, testify

on his own behalf, cross-examine adverse witnesses, or present oral testimony from his

own witnesses.

       Plaintiff has been advised by his employer that his employment will be

terminated on April 15, 2019, should he not obtain his degree by then, and that the

deadline for his visa sponsorship is April 1, 2019. Plaintiff, an Indian citizen, is currently

lawfully in the United States pursuant to his Post-completion Optional Practical

Training visa, that will expire on or about July 2, 2019.

       B.   Preliminary Injunction/Temporary Restraining Order Legal Standard

       Like all forms of injunctive relief, a temporary restraining order is “an

extraordinary remedy that should not be granted unless the movant, by a clear showing,

carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)

(emphasis in original). The Seventh Circuit has articulated the standard applicable to

the case at bar as:

       To obtain a preliminary injunction, the moving party must show “1) a reasonable
       likelihood of success on the merits, and 2) no adequate remedy at law and
       irreparable harm if preliminary relief is denied.” Mil–Mar Shoe Co., Inc. v. Shonac
                                              5
       2:19-cv-02054-CSB-EIL # 12          Page 6 of 15



       Corp., 75 F.3d 1153, 1156 (7th Cir. 1996); see also TMT North America, Inc. v. Magic
       Touch GmbH, 124 F.3d 876, 877 (7th Cir. 1997); Grossbaum v. Indianapolis–Marion
       County Bldg. Auth., 100 F.3d 1287, 1291 (7th Cir. 1996), cert. denied, 520 U.S. 1230 []
       (1997); Roth v. Lutheran Gen. Hosp., 57 F.3d 1446, 1453 (7th Cir. 1995); Abbott Lab. v.
       Mead Johnson & Co., 971 F.2d 6, 11 (7th Cir. 1992). If the movants satisfy this initial
       burden, the court must balance the irreparable harm to the non-moving party if
       the injunction is granted against the irreparable harm to the moving party if the
       injunction is denied. See Grossbaum, 100 F.3d at 1291; Publications Int’l, Ltd. v.
       Meredith Corp., 88 F.3d 473, 478 (7th Cir. 1996); Abbott Lab., 971 F.2d at 11. The
       court must also consider the effect of the injunction on nonparties. See TMT
       North America, 124 F.3d 876, 877; Grossbaum, 100 F.3d at 1291–92; Erickson v.
       Trinity Theatre, Inc., 13 F.3d 1061, 1067 (7th Cir. 1994).

       The [plaintiffs] seek a mandatory preliminary injunction, that is, an injunction
       requiring an affirmative act by the defendant …. Because a mandatory injunction
       requires the court to command the defendant to take a particular action,
       “mandatory preliminary writs are ordinarily cautiously viewed and sparingly
       issued.” Jordan v. Wolke, 593 F.2d 772, 774 (7th Cir. 1978); see also W.A. Mack, Inc.
       v. General Motors Corp., 260 F.2d 886, 890 (7th Cir. 1958) (finding that “mandatory
       injunctions are rarely issued and interlocutory mandatory injunctions are even
       more rarely issued, and neither except upon the clearest equitable grounds”).

Graham v. Med. Mut. of Ohio, 130 F.3d 293, 295 (7th Cir. 1997).

        In this circuit, the standards for a TRO and a preliminary injunction are

functionally identical. Crue v. Aiken, 137 F. Supp. 2d 1076, 1082–83 (C.D. Ill. 2001).

              1. Likelihood of Success on the Merits

                     a. Section 1983 Due Process Claim

       Plaintiff sued only the Board of Trustees of the University of Illinois. The

Eleventh Amendment bars actions in federal court against a state, state agencies, or

state officials acting in their official capacities. Council 31 of AFSCME v. Quinn, 680 F.3d

875, 881 (7th Cir. 2012). There are three exceptions to the state’s sovereign immunity

under the Eleventh Amendment: (1) a state can consent to a suit; (2) Congress can
                                               6
        2:19-cv-02054-CSB-EIL # 12          Page 7 of 15



abrogate a state’s immunity; and (3) the doctrine established by the Supreme Court in

Ex parte Young, 209 U.S. 123 (1908), which “allows private parties to sue individual state

officials for prospective relief to enjoin ongoing violations of federal law.” Mutter v.

Madigan, 17 F. Supp. 3d 752, 757 (N.D. Ill. 2014) (quoting Council 31 of AFSCME, 680

F.3d at 882) (emphasis added).

       As this court recently held, while the Ex parte Young doctrine allows suits under §

1983 against individual state officers in their official capacities for prospective injunctive

relief, it does not permit those claims to be brought against the Board of Trustees as an

entity. Minik v. Bd. of Trs. of Univ. of Ill., No. 18-cv-2101, Docket #44, at 23-24 (C.D. Ill.

Feb. 25, 2019). See also Cannon v. Univ. of Health Sciences/Chi. Med. Sch., 710 F.2d 351, 356

(7th Cir. 1983); Kaimowitz v. Bd. of Trs. of the Univ. of Ill., 951 F.2d 765, 767 (7th Cir. 1991).

       Section 1983 “only permits an individual to sue a ‘person’ who deprives that

individual of his or her federally-guaranteed rights under color of state law.” Minik,

Docket #44 at 24 n.8 (quoting Snyder v. King, 745 F.3d 242, 246 (7th Cir. 2014)). The

Board of Trustees cannot be sued under § 1983 because it is not a “person” within the

meaning of § 1983. Id.

       Because the University has not waived its Eleventh Amendment immunity from

suit in federal court under § 1983 and Plaintiff does not charge any individual

defendant with a Constitutional violation under color of state law, and because Plaintiff

may not sue the Board of Trustees under § 1983, Plaintiff’s due process claims cannot

prevail, he has failed to show a likelihood of success on the merits of his claim against
                                                7
       2:19-cv-02054-CSB-EIL # 12        Page 8 of 15



the Defendant he has chosen to name. That being said, if Plaintiff were to have sued an

appropriate defendant, based on the analysis of his breach of contract claim below,

Plaintiff would have shown some likelihood of success in that the hearing he received

afforded him less than the full protections of procedural due process.

                     b. Breach of Contract Claim

       The court has found, as discussed in the Findings of Fact above, that Plaintiff had

a contract with the University that provided, among many other terms, that Plaintiff

would not be disciplined (in this case, dismissed from the University) without due

process of law.

       This court recently stated that

       To comport with due process, expulsion procedures must provide a student with
       a meaningful opportunity to be heard. Remer v. Burlington Area School District, 286
       F.3d 1007, 1010 (7th Cir. 2002). Defendant’s process, in the court’s mind, is sorely
       lacking in providing an accused with that meaningful opportunity. An
       accusation of sexual assault is an extremely serious charge, which can carry legal,
       personal, and pecuniary consequences for the accused. The stigma which can
       come from such an accusation and the resulting finding of guilt, even if not from
       a criminal court, but rather an educational administrative body, is severe,
       serious, and can follow a person for years. The investigative and adjudicative
       process employed by Defendant falsely emulates a criminal inquiry, but lacks the
       ability of the accused to confront witnesses, be heard, or testify before the
       deciding panel. Telling one’s side of the story to an investigator, and having a
       chance to make corrections to that investigator’s report, is not a real opportunity
       to be heard.

       Further, having an “impartial” investigator present their report to the Panel, and
       make proclamations on the credibility of individuals involved in the case, is a
       poor substitute for allowing an accused to appear in person and defend
       themselves. The court does not believe that Defendant needs to implement a full
       blown criminal trial with counsel, the right to cross examine witnesses, or the
       reasonable doubt standard, but, at the very minimum, an accused party should
                                             8
       2:19-cv-02054-CSB-EIL # 12           Page 9 of 15



       be able to present his or her case to the person or people who actually decide their
       fate.

Doe v. The Bd. of Trs. of the Univ. of Ill., No. 17-cv-2180, Docket #54, at 24-25 (C.D. Ill. July

24, 2018) (emphasis in original).

       Based on the parties’ contract promising Plaintiff due process in any disciplinary

hearing, and this court’s analysis in the prior Doe v. The Board of Trustees of the University

of Illinois action that the University’s process at the relevant time was likely insufficient,

Plaintiff has shown some likelihood of success on his breach of contract claim.

       The court rejects Plaintiff’s breach of contract claim insofar as it alleges that

Plaintiff fully performed under the contract and the University is withholding his

degree in breach of the contract. The only breach the court finds Plaintiff has

demonstrated a likelihood of success on is the University’s breach of its promise to

provide him with procedural due process in the conduct of his disciplinary hearing.

                      c. Title IX Erroneous Outcome Claim

       Plaintiff’s Title IX gender discrimination claim is based on an “erroneous

outcome” theory. To state an erroneous outcome claim, a plaintiff must “allege

particular facts sufficient to cast doubt on the accuracy of the outcome of the

proceedings and then also allege particular circumstances suggesting gender bias was a

motivating factor behind the erroneous finding.” Doe v. Purdue Univ., 281 F. Supp. 3d

754, 774 (N.D. Ind. 2017) (citation omitted). Allegations of “particular circumstances

suggesting that gender bias was a motivating factor behind the erroneous finding …


                                                9
        2:19-cv-02054-CSB-EIL # 12        Page 10 of 15



might include, inter alia, statements by members of the disciplinary tribunal, statements

by pertinent university officials, or patterns of decision-making that also tend to show

the influence of gender.” Ludlow v. Northwestern Univ., 125 F. Supp. 3d 783, 792-93 (N.D.

Ill. 2015).

        Plaintiff fails to allege, or present any evidence, even by way of affidavit, any

facts to support this court finding that he has a likelihood of success on his claim that

the outcome of his case was erroneous.

        The court has concluded that Plaintiff has made a showing of some likelihood of

success on his claim that the University breached their promise to provide him

Constitutionally adequate process, as discussed above. However, Plaintiff alleges no

facts to support his conclusion that the determination reached by the second panel and

upheld by the appellate committee was erroneous. Plaintiff does not, for instance, state

that the panel or appellate committee ignored critical evidence that would have led to a

different outcome or that he was prohibited from presenting such evidence to the

investigators. The Alleged Victim and Plaintiff consumed alcohol (specifically vodka

and orange juice) together. Plaintiff acknowledged that the Alleged Victim became

drunk and confirmed that at one point she began to cry and get emotional. The facts

Plaintiff alleges regarding the instance of sexual contact that was ultimately deemed to

violate the Code show that the Alleged Victim consumed a quantity of alcohol,

vomited, fell asleep, regained consciousness, and thereafter Plaintiff, knowing these

facts, engaged in sexual intercourse with her. These facts, taken in context with all the
                                              10
       2:19-cv-02054-CSB-EIL # 12         Page 11 of 15



other facts alleged in the Complaint, do not demonstrate a likelihood of success on

Plaintiff’s claim that the University’s outcome was erroneous.

       Plaintiff has also failed to put forth any facts to create a plausible inference that

gender bias caused the alleged erroneous outcome. See Purdue, 281 F. Supp. 3d at 775;

Ludlow, 125 F. Supp. 3d at 792. The University has not conceded that any of their

policies, staff, or procedures were affected by gender bias. In support of his claim of

gender bias, Plaintiff alleges generally that the University was pressured by the

Department of Education to comply with its 2011 guidance regarding sexual

misconduct proceedings, that the University was “further pressured to make an

example out of male students … due to increased negative media attention,” that the

University’s training materials were biased; and that male students are “presumed

guilty” or “presumed to have engaged in sexual misconduct in situations where both

students have consumed alcohol.”

       These vague, conclusory, and factually unsupported allegations of a general bias

on the part of the University are insufficient to support a likelihood of success on

Plaintiff’s claim that gender bias was a motivating factor behind the alleged erroneous

finding in Plaintiff’s case. See Doe v. Columbia Coll. Chi., 299 F. Supp. 3d 939, 955 (N.D.

Ill. 2017); Blank v. Knox Coll., No. 14-cv-1386, 2015 WL 328602, at *2-4 (C.D. Ill. Jan. 26,

2015); Ludlow, 79 F. Supp. 3d at 835-36; Doe v. Colgate Univ., 2017 WL 4990629, at *11–18

(N.D.N.Y. Oct. 31, 2017), aff’d, --- Fed. App’x ---, 2019 WL 190515 (2d Cir. Jan. 15, 2019).

Plaintiff’s Complaint fails to satisfy the fundamental requirement of any Title IX
                                              11
       2:19-cv-02054-CSB-EIL # 12        Page 12 of 15



discrimination claim: alleged mistreatment on the basis of sex in connection with an

education program. See Columbia Coll., 299 F. Supp. 3d at 950-51.

                     d. Likelihood of Success on Relief Sought

       A district court has considerable discretion in deciding whether to issue a

temporary restraining order. Storck USA, L.P. v. Farley Candy Co., 14 F.3d 311, 314 (7th

Cir. 1994). Preliminary injunctive relief traditionally takes the form of maintaining the

status quo, but here Plaintiff asks the court to upend the status quo and, rather than

require the University to provide him with a fair hearing, award him his MBA degree, on

or before April 1, 2019, no less. The court finds Plaintiff has taken an unwarranted

logical leap from “I received less than full due process” to “I win on the merits of the

charges against me and therefore I get my degree.”

       While plaintiff has some likelihood of success on his breach of contract claim

(and due process claim if an appropriate defendant were sued), he has not

demonstrated any likelihood that he would succeed in being awarded the relief he

requests here, namely, conferral of his MBA degree. If plaintiff prevailed on his breach

of contract or due process claims he may be entitled to money damages, but in terms of

injunctive relief, based on the facts this court has found from the limited record at hand,

the most Plaintiff would be entitled to would be a new hearing.

       The issue with the University’s discipline of Plaintiff was not the fact of the

disciplinary hold; at the hearing on March 28, 2019, Plaintiff agreed that the disciplinary

hold appeared to comply with the Code and Statutes. The issue was and is whether the
                                             12
       2:19-cv-02054-CSB-EIL # 12         Page 13 of 15



disciplinary hearings afforded Plaintiff procedural due process. If they did not, the

appropriate remedy would appear to be a disciplinary hearing that affords Plaintiff due

process. If, after being afforded due process, Plaintiff’s dismissal from the University is

still upheld, then he would not be entitled to his degree. If he prevailed in the hearing,

the disciplinary hold would be lifted and he would be entitled to his degree. If he were

to prevail, and if he suffered damages in the interim, he could pursue money damages

here. But, at the March 28, 2019, hearing, Plaintiff confirmed that the relief he seeks is

conferral of the MBA degree; Plaintiff specifically stated that he is not at this time

requesting that the court order injunctive relief in the form of a new disciplinary

hearing.

       This court has specifically found that plaintiff does not have a likelihood of

success on his Title IX erroneous outcome claim. Further, the results of a new hearing

are not knowable at this time.

       Therefore, while Plaintiff has shown a likelihood of obtaining some success on

the merits, he has not meaningfully done so for the purposes of his request for a

Preliminary Injunction, where the sole relief he seeks in his motion does not logically

flow from the modicum of success he appears likely to obtain.

       The court reiterates that it has not found that Plaintiff has shown a likelihood of

success on his breach of contract claim insofar as he claims that he met all his

obligations under the contract (including paying tuition, completing academic

standards, and meeting all other specified requirements) and is therefore entitled to his
                                             13
       2:19-cv-02054-CSB-EIL # 12         Page 14 of 15



degree. The terms of the contract provide that Plaintiff’s account will be under a

disciplinary hold while disciplinary proceedings against him are pending, and that hold

may be continued if the proceedings are resolved against him, which they were here.

The only breach of contract claim on which the court has found has a likelihood of

success on the merits is his claim that the University breached its promise to provide

him with due process. The logical remedy would be a new hearing, not conferral of his

degree.

       If Plaintiff were to have asked this court for injunctive relief in the form of a new

hearing, the court may have been inclined to grant such a request. He appears to have a

strong likelihood of success in obtaining that result. (Although certainly not declaring it,

there was even a possible indication from Defense counsel that such a new hearing

might be agreed). However, when pressed on that point by the court at the March 28,

2019, hearing, Plaintiff’s counsel specifically declined to indicate that he was in any way

requesting a new hearing as an alternative request for relief. Because Plaintiff has not

requested it, the court declines to order it.

       C. Conclusion

       Because Plaintiff has failed to establish a likelihood of success on the merits,

further analysis of the subsequent steps in the preliminary injunction analysis,

including irreparable harm, lack of remedy at law, and balancing of the interests, are

unnecessary. The court concludes that Plaintiff is not entitled to a preliminary

injunction or any other relief at this time. Plaintiff’s Motion for Preliminary Injunction
                                                14
      2:19-cv-02054-CSB-EIL # 12       Page 15 of 15



and/or Temporary Restraining Order (#4) is DENIED.

      IT IS THEREFORE ORDERED THAT:

      1) Plaintiff’s Motion for Preliminary Injunction and/or Temporary Restraining

      Order (#4) is DENIED.

      2) This case is referred to Magistrate Judge Long for further proceedings.

                          ENTERED this 1st day of April, 2019.

                                        s/ Colin Stirling Bruce
                                        COLIN S. BRUCE
                                        U.S. DISTRICT JUDGE




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